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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  4:07CR422
                              )
          v.                  )
                              )
FRANCISCO OLGUIN,             )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 26) and motion for permission to file

sealed document (Filing No. 27).        The Court notes plaintiff has

no objection to said motions.       Accordingly,

           IT IS ORDERED:

           1) Trial of this matter is rescheduled for:

                Monday, May 19, 2008, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The parties will have additional time to pursue plea

negotiations or prepare for trial.        The ends of justice will be

served by continuing this case and outweigh the interests of the

public and the defendant in a speedy trial.             The additional time

between March 17, 2008, and May 19, 2008, shall be deemed

excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).
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           2) Defendant’s motion for permission to file sealed

document is granted; the clerk of court shall seal defendant’s

motion to continue.

           DATED this 7th day of March, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
